                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )      NO. 3:12-00076
                                                )      JUDGE CAMPBELL
ALLEN WALKER, et al.                            )

                                         ORDER

      Pending before the Court are Defendant Jeffrey Johnson’s Motion For Leave To Join

Defendant Walker’s Motion To Dismiss Count One Of The Superseding Indictment (Docket No.

232), Defendant Charles Eugene Powell’s Motion For Leave To Join Defendant Walker’s

Motion To Dismiss Count One Of The Superseding Indictment (Docket No. 235), and Defendant

Billy Griffith’s Motion To Join Defendant Walker’s Motion To Dismiss Count One Of The

Superseding Indictment (Docket No. 244). The Motions are GRANTED.

      It is so ORDERED.

                                                ____________________________________
                                                TODD J. CAMPBELL
                                                UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00076       Document 247     Filed 10/01/13    Page 1 of 1 PageID #: 817
